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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      Case No.      1:20-mj-03585


  UNITED STATES OF AMERICA

  v.

  OSCAR WILLIAMS, JR.,

                    Defendant.
  ______________________________________/


                         CRIMINAL COMPLAINT COVER SHEET

       1.   Did this matter originate from a matter pending in the Central Region of the United
            States Attorney’s Office prior to August 9, 2013 (Magistrate Judge Alicia Valle)?
                             Yes            X     No

       2.   Did this matter originate from a matter pending in the Northern Region of the United
            States Attorney’s Office prior to August 8, 2014 (Magistrate Judge Shaniek Maynard)?
                               Yes         X      No

       3.   Did this matter originate from a matter pending in the Central Region of the United
            States Attorney’s Office prior to October 3, 2019 (Mag. Judge Jared Strauss)?
                               Yes           X     No

                                            Respectfully submitted,

                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY

                                     By:    __s/ Vanessa Singh Johannes_________
                                            Vanessa Singh Johannes
                                            Assistant United States Attorney
                                            Court ID No. A5501644
                                            99 N.E. 4th Street, 5th Floor
                                            Special Prosecutions
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      9.11.20
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                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         Your affiant is Laura A. Schwartzenberger, Special Agent (SA) with the Federal Bureau

  of Investigation (“FBI”), who, first being duly sworn, deposes and states as follows:

                                     AFFIANT BACKGROUND

         1.      I am an investigative or law enforcement officer of the United States within the

  meaning of Section 2510(7) of Title 18, United States Code. That is, I am an officer of the United

  States, who is empowered by law to conduct investigations of, and make arrests for, offenses

  enumerated in Title 18, Untied States Code, Sections 2251, 2252, 875, and 1470, et seq. I have

  been an SA with the FBI since December 2005. Currently, I am assigned to the FBI, Miami Field

  Office, Violent Crimes Against Children squad, which targets individuals involved in the on-line

  sexual exploitation of children. I also participate in other types of investigations involving crimes

  against children. These investigations have included the use of surveillance techniques; undercover

  activities; the interviewing of subjects and witnesses; and the execution of search, arrest, and

  seizure warrants.

         2.      I am conducting an investigation involving the sexual exploitation of children and

  related activities as described herein. I have personally participated in the investigation, and

  because of my personal participation in and reports made to me by members of the participating

  law enforcement agencies, I am familiar with the facts and circumstances of this investigation. I

  have participated in investigations involving pedophiles, preferential child molesters, and persons

  who collect and/or distribute child pornography, along with the production, importation, and

  distribution of materials relating to the sexual exploitation of children. I have received training in

  the area of child pornography and child exploitation through the FBI. I have assisted in many child

  pornography and child exploitation investigations, which have involved reviewing examples of
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  child pornography in all forms of media, including computer media, and have discussed and

  reviewed these materials with other law enforcement officers. As an FBI agent, I have observed

  and reviewed numerous examples of child pornography (as defined in 18 U.S.C. § 2256).

                                 PURPOSE OF THE AFFIDAVIT

         3.      This affidavit is submitted in support of a Criminal Complaint charging OSCAR

  WILLIAMS, JR., hereinafter referred to as WILLIAMS, with the following violations, or

  attempted violations:

              a. Title 18, United States Code, Section 2251(a): the persuasion, inducement,

                 enticement, and coercion of a minor to engage in sexually explicit conduct for the

                 purpose of producing child pornography, knowing that the child pornography

                 images or videos would be transmitted via a computer and the Internet; and

              b. Title 18, United States Code, Section 875(d): with intent to extort from any person

                 a thing of value, transmitting in interstate or foreign commerce, including by means

                 of a computer, any communication containing a threat to injure the reputation of

                 the person.

         4.      The facts in this affidavit come from my own personal observations, my training

  and experience, and information obtained from other law enforcement personnel and witnesses,

  including personnel specially trained in the seizure and analysis of computers and electronic

  media. Since this affidavit is being submitted for the limited purpose of securing a criminal

  complaint, I have not included each and every fact known to me concerning this investigation.




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                                               PROBABLE CAUSE

      •    Investigation Conducted by FBI, New York Field Office

           5.       On or about December 2, 2019, a complainant advised Special Agents of the FBI,

  New York Field Office, that her minor daughter was extorted into sending nude images and videos

  of herself via Snapchat 1 by an unknown male, later identified by law enforcement as WILLIAMS,

  who claimed to be nineteen years old. The complainant advised that her daughter is a fourteen-

  year-old minor female, hereinafter referred to as “VICTIM 1.” The complainant further advised

  that WILLIAMS used two Snapchat accounts to communicate with VICTIM 1: smiley25200 and

  thatboiroyroy25. Due to the threats made by WILLIAMS, VICTIM 1 was scared and complied

  with his demands, sending multiple pornographic pictures and videos of herself to WILLIAMS.

  As explained further below, the images and videos were reviewed by law enforcement and

  constitute child pornography.

           6.       On or about December 10, 2019, VICTIM 1 was forensically interviewed. During

  the interview, VICTIM 1 advised that an individual who she occasionally communicates with on

  Snapchat told her to add Snapchat username thatboiroyroy25, whose bitmoji 2 is a black male with

  dreadlocks. In approximately late November 2019, thatboiroyroy25 then sent VICTIM 1 a

  message, telling VICTIM 1 that he had hacked into someone else’s account and he was going to

  expose VICTIM 1. He sent VICTIM 1 pictures of her and told VICTIM 1 that he was going to




           1
             Snapchat is a messaging application (“app”) that allows users to chat and exchange pictures and videos
  (called snaps) that are meant to disappear after they are viewed.
           2
              A bitmoji is an individual’s own personal emoji that can be used in messaging apps. It is a digital cartoon
  avatar that is intended to look like and represent the person using it. It can be used to express an individual’s
  feelings, emotions, and actions.

                                                             3
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  send VICTIM 1’s pictures to her friends and family and post the pictures on social media and

  pornography sites if she did not send WILLIAMS more pictures. One of the pictures that

  WILLIAMS had of VICTIM 1 and sent to her depicted VICTIM 1 in a bra and thong. VICTIM

  1’s face was not visible in the picture, but the picture depicted her hair and the rest of her body,

  down to her knees, and her bedroom. VICTIM 1 recognized the pictures that thatboiroyroy25 sent

  her as ones she previously had on her cameral roll and in her old Snapchat Memories 3. VICTIM 1

  further advised that she had taken the pictures in her bedroom and bathroom. WILLIAMS told

  VICTIM 1 that he was nineteen years old. VICTIM 1 told WILLIAMS that she was fourteen years

  old; however, WILLIAMS did not care and continued threatening to expose VICTIM 1.

           7.       VICTIM 1 advised that, over the course of approximately three days, WILLIAMS,

  under Snapchat username thatboiroyroy25, told VICTIM 1 to send him pictures and videos of her

  naked, front and back, and told her to touch her genitals. Additionally, WILLIAMS specified how

  long he wanted the videos to be. WILLIAMS further specified that he wanted the pictures and

  videos to include VICTIM 1’s face, and he wanted VICTIM 1 to send him a video with her lying

  down on the bed with her legs open. VICTIM 1 complied with WILLIAMS’ demands, created the

  pornographic video, sent the video to WILLIAMS through the Internet. WILLIAMS also told

  VICTIM 1 to send him a video of VICTIM 1 inserting her finger into her vagina, but VICTIM 1

  declined to send that video.

           8.       In addition, VICTIM 1 advised that WILLIAMS, under Snapchat username

  thatboiroyroy25, sent her pictures of other girls, who he said complied with his demands and sent




           3
             Snapchat Memories is a feature of Snapchat that enables users to save photos and videos for later instead
  of allowing them to disappear when the designated time is up.

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  him pictures and videos. VICTIM 1 advised that the ages of those other girls appeared to be

  approximately fifteen, sixteen, or seventeen.

         9.      VICTIM 1 attempted to block WILLIAMS on Snapchat, but WILLIAMS

  threatened to expose VICTIM 1, so she unblocked him. VICTIM 1 later reported the WILLIAMS’

  Snapchat account thatboiroyroy25 to Snapchat and stopped answering his messages.

         10.     In response, WILLIAMS contacted VICTIM 1 under Snapchat username

  smiley25200. Another Snapchat friend of VICTIM 1 told VICTIM 1 to add smiley25200 as a

  friend and the former asked VICTIM 1 why smiley25200 sent him a picture of VICTIM 1. Under

  username smiley25200, WILLIAMS told VICTIM 1 that he was the same person who was going

  to expose VICTIM 1 if she did not send more videos. WILLIAMS told VICTIM 1 that he wanted

  the videos to be fifty seconds long. VICTIM 1 complied and sent WILLIAMS some videos.

         11.     VICTIM 1 advised that she was not wearing any clothes in most of the pictures she

  sent to WILLIAMS. In a few of the pictures she sent, VICTIM 1 was wearing only thong

  underwear.

         12.     VICTIM 1 then told WILLIAMS that she could not talk anymore and contacted

  law enforcement.

         13.     A review of VICTIM 1’s cell phone by law enforcement revealed a saved

  screenshot of the Snapchat account for thatboiroyroy25. The bitmoji on the screenshot of the

  Snapchat account for thatboiroyroy25 is that of a black male with dreadlocks and a goatee. The

  screenshot showed five photos saved in the chat that depict nude and semi-nude females. VICTIM

  1 advised that four of the photos are of her and were sent to thatboiroyroy25 by VICTIM 1 upon

  his demands. In two of the photos, VICTIM 1 is wearing only thong underwear. Both show

  VICTIM 1’s back, and in one, VICTIM 1 is bent over. In the other two photos, VICTIM 1 is nude.

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  In one of these, VICTIM 1 is bent over, showing her buttocks, and in the other VICTIM 1 is sitting

  back with her legs spread, exposing her vagina. The fifth photo is of another nude female and

  depicts the female’s entire front side from her head to her knees. VICTIM 1 advised that

  thatboiroyroy25 sent her the photo as an example of the type of photos he wanted.

         14.     Additionally, law enforcement obtained pictures taken by VICTIM 1’s sister of

  some of the pictures and chats between VICTIM 1 and thatboiroyroy25 and smiley25200 without

  WILLIAMS being aware. One of these pictures depicts the first message that thatboiroyroy25 sent

  to VICTIM 1. The message is as follows: “Should I post these videos and pictures of you you have

  some nice big ass tittes I wanna see more but if you don’t this what ima do I own a photoshop that

  I have no problem post and putting your shit up there not only that I will post yo shit on world star

  hip hop YouTube Twitter Facebook xhamster xvideos every porn sight available also I will post

  them on all 36 of my accounts on Snapchats on my story let niggas screenshot yo shit I promise

  you in a year niggas gonna know how them pretty nipples look so what’s it’s gonna be are you

  gonna listen or I’m gonna expose??? I I hacked Duh.” In response, VICTIM 1 told WILLIAMS

  that she is fourteen and asked how old he is. WILLIAMS responded that he is nineteen and then

  continued to threaten VICTIM 1 with exposing her pictures.

         15.     In one of the pictures taken by VICTIM 1’s sister depicting Snapchat messages

  between VICTIM 1 and thatboiroyroy25, WILLIAMS sent two photos to VICTIM 1 as examples

  of photos that he wanted from VICTIM 1. Both the photos depict the same female, who is wearing

  a bra and panties. VICTIM 1 responded in the chats with thatboiroyroy25 that she knows the

  female. In VICTIM 1’s interview, VICTIM 1 clarified that she does not know the female

  personally, but knows her through Snapchat and knows her Snapchat name. VICTIM 1 was under

  the impression that the female is fifteen or sixteen years old.

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         16.     In another one of the pictures taken by VICTIM 1’s sister depicting Snapchat

  messages between VICTIM 1 and thatboiroyroy25, WILLIAMS sent VICTIM 1 three images

  depicting a different female who is nude. In one of the images, the female’s legs are spread,

  exposing her vagina. In the chats, the subject told VICTIM 1 that he wanted pictures “Like this,”

  and later specified that he wanted ten more.

         17.     Two additional pictures taken by VICTIM 1’s sister depict the Snapchat messages

  between VICTIM 1 and smiley25200. The bitmoji for the Snapchat account smiley25200 is the

  same as for thatboiroyroy25 but without the goatee, and the character is smiling. In the first picture,

  WILLIAMS told VICTIM 1, “I’m gonna be the guy exposing you today too all your friends

  Because you not showing me shit.” When VICTIM 1 inquires who he is, WILLIAMS responds,

  “The same nigga That’s blackmail you Now are you gonna show me or ima show your friends

  About time I told you stop trying me this would have been over Smh (Emoji with hand on the face)

  No bra and panties Full body head too toe you know how I like it I would have blocked you And

  this would have been over But you wanna do things the hard way I blocked your friend ask her

  She’s free Now it’s your turn.” In the second picture, VICTIM 1 told WILLIAMS that someone

  was taking her phone, and in response, WILLIAMS again threatened VICTIM 1 and told her that

  he wanted thirty more pictures/videos and gave her one week to comply with his demands.

         18.     Pursuant to an administrative subpoena served on Snapchat in December 2019 for

  information regarding Snapchat accounts thatboiroyroy25 and smiley25200, Snapchat advised that

  username smiley25200 is linked to email address oscarwilliams25@icloud.com. No email address

  was provided for Snapchat account thatboiroyroy25. Many of the Internet Protocol (IP) addresses

  that accessed both of the Snapchat accounts were identical. One such IP address, 99.115.37.122,



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  which was used on multiple occasions during different times of the day to access both accounts, is

  owned by AT&T.

           19.   Pursuant to an administrative subpoena served on AT&T in January 2020, the

  aforementioned IP address was determined to be registered to 1146 Jann Avenue, Opa Locka,

  Florida 33054. A public records check for this address indicated that WILLIAMS was a resident

  there.

           20.   Information pertaining to the investigation was thereafter sent to the FBI, Miami

  Field Office for further investigation.

      •    Investigation Conducted by FBI, Miami Field Office

           21.   On July 14, 2020, physical surveillance was conducted at the 1146 Jann Avenue

  residence. One of the vehicles parked in the driveway of the residence, a 2015 black Dodge

  Challenger, is registered to WILLIAMS, with the same date of birth as WILLIAMS on the public

  records check. A Florida Driver and Vehicle Information Database check was conducted for

  WILLIAMS, with the same date of birth. The registered address for WILLIAMS is 1146 Jann

  Avenue, Opa Locka, Florida 33054. The driver’s license photo for WILLIAMS is of a black male

  with dreadlocks and a goatee, and the photo resembles the bitmoji on the Snapchat accounts

  thatboiroyroy25 and smiley25200.

           22.   On August 24, 2020, an FBI Online Undercover Employee (OCE) contacted

  thatboiroyroy25 on Snapchat. The OCE determined that the bitmoji for thatboiroyroy25 is the

  same as the bitmoji from the screenshot of VICTIM 1’s cell phone, except the bitmoji character is

  smiling in the account contacted by the OCE. Thatboiroyroy25 responded to the OCE on August

  25, 2020, and there were some short additional chats between the OCE and thatboiroyroy25 on

  August 31, 2020. No pictures or videos were exchanged between the two.

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     •   Execution of a Federal Residential Search Warrant & Interview of WILLIAMS

         23.     On September 11, 2020, a federal search warrant authorized by United States

  Magistrate Judge Lisette M. Reid was executed at 1146 Jann Avenue in Opa Locka, Florida, for

  search and seizure of electronic devices belonging to WILLIAMS. An Apple iPhone 8 Plus

  belonging to WILLIAMS was located in WILLIAMS’ bedroom, in the bed, between the mattress

  and the box spring. Law enforcement seized the phone as evidence and attempted to do a data

  extraction of the phone while at the residence. Said data extraction efforts are ongoing.

         24.     WILLIAMS was interviewed in an FBI-owned vehicle outside of his residence by

  Affiant and another Special Agent. WILLIAMS voluntarily agreed to speak to law enforcement.

  Other residents were also voluntarily interviewed at that time, including WILLIAMS’ wife.

  WILLIAMS advised that he owns an iPhone 8 Plus, which his children occasionally use for games.

  He stated that his favorite number is 25, and agents acknowledged that WILLIAMS has a tattoo

  on his left upper arm of the number “25.” WILLIAMS further advised that his nickname is

  “Smiley,” and that his friends call him that because he has an overbite. When asked if he uses

  Snapchat, WILLIAMS stated that he does, and his Snapchat username is Smiley8515.

  WILLIAMS was then asked about Snapchat account Smiley25200, which he advised is an old

  Snapchat account of his that he used approximately four years ago. WILLIAMS then denied ever

  using Snapchat account thatboiroyroy25 or threatening a minor into sending nude images or videos.

         25.     WILLIAMS admitted that he knew one of the females in two of the pictures shown

  to him in the saved images and chats from the Snapchat account thatboiroyroy25. He advised of

  the female’s name, and stated that he is currently having an affair with her. He further advised

  that she is nineteen years old, lives approximately fifteen minutes from him, and that he had last

  seen her earlier that day. WILLIAMS stated that, up until two months ago, many of his friends

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  used to visit him at his house and use his cell phone, and that the threatening chats on Snapchat

  could have come from anyone.

         26.    WILLIAMS was then read his Miranda rights by another Special Agent, which he

  acknowledged, and WILLIAMS agreed to continue to speak with law enforcement.                Law

  enforcement made an audio recording of the Special Agent advising WILLIAMS of his Miranda

  rights and his waiver thereof. Law enforcement proceeded to record the entire interview of

  WILLIAMS, but he specifically stated that he did not want it recorded. Thereafter, WILLIAMS

  advised that he did threaten the fourteen-year-old female (VICTIM 1) in the pictures previously

  shown to him by your Affiant. He advised that he was trying to teach her a lesson because she

  cheated on his friend’s cousin, and she is “loose.” He admitted having asked VICTIM 1 to send

  him nude images of her breasts and vagina. WILLIAMS further admitted that he had demanded

  that VICTIM 1 take more pictures of her vagina and send them to him or else he would expose

  her. WILLIAMS then stated to both the other Special Agent and your Affiant that he did not want

  to give agents the password to his phone because he knew there were nude pictures of VICTIM 1

  on his phone. WILLIAMS then recanted this statement, saying that there may be pictures of

  VICTIM 1, and then recanted again, saying that he did not know if there were pictures on his

  phone of VICTIM 1.

         27.    Furthermore, WILLIAMS stated to your Affiant that he did not use Snapchat

  username thatboiroyroy25, and the threatening messages in the pictures shown to him under both

  Snapchat usernames thatboiroyroy25 and smiley25200 were not made by him. WILLIAMS did

  not say how he had threatened VICTIM 1. Additionally, WILLIAMS stated that he also knew

  one of the other females in one of the pictures shown to him of chats under username

  thatboiroyroy25.   WILLIAMS advised that the female was from Canada and that she was

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  seventeen years old. In the pictures, it appears that the minor is wearing only a bra and panties.

  WILLIAMS, however, continued to deny that the chats were from him.

         28.      At various times while Special Agents were speaking with WILLIAMS, he

  requested that the audio recorder be turned off and then on again or that one agent leave the

  interview. The Special Agents complied with these requests of WILLIAMS, and the recording

  of his interview reflects as such.

         29.      WILLIAMS’ spouse was also interviewed by Special Agents. She advised that

  WILLIAMS always has his cell phone on him and that he never lets anyone else use his phone.

  She further advised that WILLIAMS’ friends used to come to the house frequently, but that she

  has never seen any of them use WILLIAMS’ cell phone. She stated that she has seen chats on

  WILLIAMS’ phone, wherein WILLIAMS’ requested nude images and videos from other females.

  She has also seen many nude images of other females on WILLIAMS’ cell phone, but did not

  know their ages.      She was unsure of the ages of the females.         She further stated that,

  approximately a month and a half ago, WILLIAMS changed the password on his phone, and she

  no longer knows the password. She confirmed that WILLIAMS’ Snapchat screenname used to

  be Smiley25 and that 25 is his favorite number.

                                           CONCLUSION

         30.      Based on the aforementioned factual information, your Affiant respectfully submits

  that there is probable cause to believe that WILLIAMS knowingly, willfully, and intentionally

  committed the following violations or attempted violations:

               a. Title 18, United States Code, Section 2251(a): the persuasion, inducement,

                  enticement, and coercion of a minor to engage in sexually explicit conduct for the



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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                             1:20-mj-03585
                               CASE NUMBER: __________________________

                                         BOND RECOMMENDATION



DEFENDANT: OSCAR WILLIAMS, JR.

                 PRE-TRIAL DETENTION
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:     ________________________________
                                                             AUSA:
                                                             AUSA: VANESSA S. JOHANNES




Last Known Address: 1146 Jann Avenue

                        Opa Locka, FL 33054



What Facility:




Agent(s):               S/A Laura Schwartzenberger
